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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        :
                                                 :
        v.                                       :          CASE NO. 1:21-CR-268 (CJN)
                                                 :
 JEFFREY MCKELLOP                                :
                                                 :
        Defendant.                               :


                       MOTION TO STAY PRETRIAL DEADLINES

       The government moves to stay the current pretrial deadlines in this matter.

       Trial in this case is currently set to begin on December 11. Several deadlines in advance

of trial are approaching, including the deadline to oppose any motions in limine (November 13),

to reply to such oppositions (November 20), and to provide a pretrial statement (same).

       The government understands that the defendant seeks to terminate his relationship with

current defense counsel: if so, they will be the seventh and eighth lawyers the defendant has

rejected. The government also understands that defense counsel is conferring with the Court ex

parte on this issue. Given that the defendants’ representation—and, presumably, the trial date—

are in flux, the government requests that current pretrial deadlines be stayed, and that the Court

schedule a hearing to resolve the issue of the defendant’s representation.
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                                             Respectfully submitted,

DATED: November 13, 2023                     MATTHEW M. GRAVES
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